'A0 247 (02/08) Order Case    4:98-cr-00141-BAE
                      Regarding Motion for Sentence ReductionDocument 258   Filed 05/29/08 Page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                     Southern District of Georgia
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                                                                                                                     1      -
                  United States of America                       )                                                 •H UJ-
                                 V.                              )
                      Maurice A. Kirkland                        ) Case No: CR498-00141-007            .
                                                                 ) USMNo: 48574-019                            .
Date of Previous Judgment: December 12, 2000                     ) John A. Foster
(Use Date of Last Amended Judgment if Applicable)                ) Detndant's Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of         the defendant LIthe Director of the Bureau of Prisons Lathe court under 18 U.s.c.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED. LI GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of       months is reduced to
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     33                                      Amended Offense Level:      31
Criminal History Category: III                                      Criminal History Category: III
Previous Guideline Range:   168                to 210 months        Amended Guideline Range: 135 to 168 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
LI Other (explain):



III. ADDITIONAL COMMENTS
A sentence of 168 months, the top end of the amended advisory guideline range, is the appropriate sentence in this
case. The Court notes that the defendant has a disciplinary record since his imprisonment which includes a charge of
escaping on May 16, 2004.

Except as provided above, all provisions of the judgment dated December 12, 2000, shall remain in effect.
IT IS SO ORDERED.                                                        I, ñ                              -
Order Date:       May 29, 2008


                                                                   B. Avant Edenfield           /
                                                                   United States District Judge
Effective Date:                                                    For the Southern District of Georgia
                   (if different from order date)                                   Printed name and title
